                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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ALEKSEY RUDERMAN,
ARTURO SALDIVAR,
CHRIS POCKNELL,

                        Plaintiffs,
                                                                     CASE NO. 23cv1336
v.

KENOSHA COUNTY,
KENOSHA COUNTY SHERIFF’S DEPARTMENT,
DAVID G. BETH, ROBERT HALLISY,
LARRY APKER, MARC LEVIN,
JUSTIN MILLER, and
LT. BILL BETH,

                        Defendants.


                     AMENDED NOTICE OF SPECIAL APPEARANCE


       PLEASE TAKE NOTICE that Attorney Matteo Reginato appears on behalf of Kenosha

County, Kenosha County Sheriff’s Department, David G. Beth, Larry Apker, Marc Levin, Justin

Miller, and Bill Beth, and with respect to Defendant Robert Hallisy, said counsel makes a Special

Appearance because he has not been served and thereby retains all objections to personal

jurisdiction, insufficient process and insufficient service of process, and hereby requests copies of

all proceedings in this action subsequent to the Summons and Complaint to be served upon us.

       Dated this 7th day of November, 2023.

                                              MUNICIPAL LAW & LITIGATION
                                              GROUP, S.C.
                                              Attorneys for Defendants

                                              By: /s/ Electronically signed by Matteo Reginato
                                                     REMZY D. BITAR
                                                     State Bar No: 1038340




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